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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )                      8:16CR67
                       Plaintiff,              )
                                               )
       vs.                                     )                DETENTION ORDER
                                               )
CHRISTOPHER GONZALEZ,                          )
                                               )
                       Defendant.              )

A. Order For Detention
   After waiving a detention hearing pursuant to 18 U.S.C. § 3142(f) of the Bail Reform Act on
   February 26, 2016, the Court orders the above-named defendant detained pursuant to 18 U.S.C.
   § 3142(e) and (i).

B. Statement Of Reasons For The Detention
   The Court orders the defendant’s detention because it finds:
    X    By a preponderance of the evidence that no condition or combination of conditions will
         reasonably assure the appearance of the defendant as required.
     X   By clear and convincing evidence that no condition or combination of conditions will
         reasonably assure the safety of any other person or the community.

C. Finding Of Fact
   The Court s findings are based on the evidence which was presented in court and contained in
   the Pretrial Services Report, and includes the following:
     X     (1) Nature and circumstances of the offense charged:
             X     (a) The crime: the distribution of methamphetamine (Count I) in violation of
                       21 U.S.C. § 841(a)(1) carries a maximum sentence of twenty years
                       imprisonment.
                   (b) The offense is a crime of violence.
                   (c) The offense involves a narcotic drug.
                   (d) The offense involves a large amount of controlled substances, to wit:

             (2) The weight of the evidence against the defendant is high.
      X      (3) The history and characteristics of the defendant including:
                   (a) General Factors:
                              The defendant appears to have a mental condition which may affect
                              whether the defendant will appear.
                              The defendant has no family ties in the area.
                          X The defendant has no steady employment.
                          X The defendant has no substantial financial resources.
                              The defendant is not a long time resident of the community.
                              The defendant does not have any significant community ties.
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                        Past conduct of the defendant:
                    X The defendant has a history relating to drug abuse.
                        The defendant has a history relating to alcohol abuse.
                    X The defendant has a significant prior criminal record.
                        The defendant has a prior record of failure to appear at court
                        proceedings.
              (b) At the time of the current arrest, the defendant was on:
                        Probation
                        Parole
                        Release pending trial, sentence, appeal or completion of sentence.
              (c) Other Factors:
                        The defendant is an illegal alien and is subject to deportation.
                        The defendant is a legal alien and will be subject to deportation if
                        convicted.
                        The Bureau of Immigration and Custom Enforcement (BICE) has
                        placed a detainer with the U.S. Marshal.
                        Other:
   X   (4) The nature and seriousness of the danger posed by the defendant s release are as
           follows: The nature of the charges in the Indictment and the defendant’s substance
           abuse and criminal history.

   X   (5) Rebuttable Presumptions
           In determining that the defendant should be detained, the Court also relied on the
           following rebuttable presumption(s) contained in 18 U.S.C. § 3142(e) which the
           Court finds the defendant has not rebutted:
         X    (a) That no condition or combination of conditions will reasonably assure the
                   appearance of the defendant as required and the safety of any other person
                   and the community because the Court finds that the crime involves:
                         (1)    A crime of violence; or
                         (2)    An offense for which the maximum penalty is life
                                imprisonment or death; or
                     X (3)      A controlled substance violation which has a maximum
                                penalty of 10 years or more; or
                         (4)    A felony after the defendant had been convicted of two or
                                more prior offenses described in (1) through (3) above, and
                                the defendant has a prior conviction for one of the crimes
                                mentioned in (1) through (3) above which is less than five
                                years old and which was committed while the defendant was
                                on pretrial release.
         X    (b) That no condition or combination of conditions will reasonably assure the
                   appearance of the defendant as required and the safety of the community
                   because the Court finds that there is probable cause to believe:
                     X (1)      That the defendant has committed a controlled substance
                                violation which has a maximum penalty of 10 years or more.
                        (2)     That the defendant has committed an offense under 18 U.S.C.
                                § 924(c) (uses or carries a firearm during and in relation to
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                                      any crime of violence, including a crime of violence, which
                                      provides for an enhanced punishment if committed by the use
                                      of a deadly or dangerous weapon or device).

D. Additional Directives
   Pursuant to 18 U.S.C. § 3142(i)(2)-(4), the Court directs that:
          1. The defendant be committed to the custody of the Attorney General for
               confinement in a corrections facility separate, to the extent practicable from persons
               awaiting or serving sentences or being held in custody pending appeal; and
          2. The defendant be afforded reasonable opportunity for private consultation with
               counsel; and
          3. That, on order of a court of the United States, or on request of an attorney for the
               government, the person in charge of the corrections facility in which the defendant
               is confined deliver the defendant to a United States Marshal for the purpose of an
               appearance in connection with a court proceeding.


DATED:      February 26, 2016.


                                                      BY THE COURT:

                                                      s/ Thomas D. Thalken
                                                      United States Magistrate Judge
